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                                                                           United States District Court
                                                                             Southern District of Texas
                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS                            ENTERED
                              HOUSTON DIVISION                                August 03, 2022
                                                                             Nathan Ochsner, Clerk

UNITED STATES OF AMERICA                      §
                                              §
versus                                        §        Criminal No. 4:22−cr−00372
                                              §
Caleb Jordan McCreless                        §


                   ORDER OF DETENTION PENDING HEARING


     A hearing in this case is scheduled as follows:

                            Arraignment and Detention Hearing
                               August 5, 2022 at 09:00 AM
                                      Courtroom 704
                                United States District Court
                                     515 Rusk Street
                                   Houston, TX 77002

       IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody
of the United States Marshal or any other authorized officer. The custodian must bring the
defendant to the hearing at the time, date, and place set forth above.


Date: August 3, 2022
